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 6

 7                                 UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA

 9
10    JERIN FENTON,                                   CASE NO.
                                                      Civil Rights
11           Plaintiff,
                                                      COMPLAINT FOR PRELIMINARY AND
12           v.                                       PERMANENT INJUNCTIVE RELIEF AND
                                                      DAMAGES:
13    EMPORIUM SF, LLC; DIVISADERO
      HAYES, LLC,                                     1. Violations of Americans with Disabilities Act
14                                                       of 1990 (42 U.S.C. § 12101 et seq.)

15            Defendants.                             2. Violation of the California Unruh Act (Cal.
                                                         Civil Code §§ 51 and 52)
16
                                                      3. Violation of the California Disabled Persons
17                                                       Act (Cal. Civil Code § 54 et seq.)

18
                                                      DEMAND FOR JURY TRIAL
19
            Plaintiff JERIN FENTON complains of Defendants EMPORIUM SF, LLC and
20
     DIVISADERO HAYES, LLC, and each of them, and alleges as follows:
21
            1.      INTRODUCTION: The Emporium Arcade Bar (“Emporium”) is a large,
22
     multilevel bar and arcade that hosts hundreds of members of the public at a time for drinks,
23
     snacks, entertainment and private parties. Unfortunately, the Emporium also does not have an
24
     accessible path of travel to its upstairs bar and private party area, restrooms, and some game areas
25
     despite a multi-hundred-thousand-dollar renovation in 2017, totaling over $870,000. Patrons are
26
     required to climb up three flights of stairs to access the bar and group seating areas on the top
27
     floor of the Emporium. The lack of access caused Plaintiff Jerin Fenton significant
28
                                                        1
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 1   embarrassment, difficulty, and discomfort on February 24, 2024. While patronizing the

 2   Emporium to celebrate a friend’s birthday, Plaintiff had to rely on the assistance of his friends to

 3   be carried up and down several flights of stairs to access the party area and restroom, at great risk

 4   to his physical safety. As a result of the lack of accessible path of travel and inaccessible second

 5   floor restroom, Plaintiff was forced to change his catheter in plain view of other patrons using the

 6   restroom.

 7          2.      It should never have been this way. Defendants and/or their predecessors-in-

 8   interest performed three extensive interior remodels in 2017 of subject premises. These

 9   renovations were valued and $150,000, $600,000 and $120,000. Each of these renovations were
10   performed to turn what was previously a church into the Emporium Arcade Bar. These

11   alterations required Defendants to make the restrooms, seating areas, and bars fully accessible,

12   including providing an accessible path of travel to each area. As a result of these and other

13   barriers, disabled Plaintiff Jerin Fenton was unable to meaningfully access and enjoy the

14   Emporium located at 616 Divisadero Street, San Francisco, California.

15          3.      Plaintiff is a “person with a disability” or “physically handicapped person” who

16   requires the use of a wheelchair for locomotion. He is unable to use portions of public facilities

17   which are not accessible to mobility disabled persons. Plaintiff was denied his rights to full and

18   equal access to the Emporium. He was denied his civil rights under both California law and

19   federal law, and he continues to have his rights denied, because these facilities were not, and are
20   not now, properly accessible to physically disabled persons, including those who use assistive

21   devices for mobility.

22          4.      Plaintiff seeks injunctive relief to require Defendants to make these facilities

23   accessible to disabled persons and to ensure that any disabled person who attempts to patronize

24   the subject premises will be provided accessible facilities. This request includes but is not limited

25   to installation of three stair lifts to ensure independent access to each of the floors, including the

26   bar and reserved seating area. Plaintiff’s contractor estimates this would cost between $50,000 to

27   $100,000, well under the 20% of total cost of renovations the ADA requires when performing

28   alterations, and similarly required under state law where the renovation cost exceeded the
                                                         2
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 1   threshold that requires full access compliance. Plaintiff also seeks recovery of damages for his

 2   discriminatory experiences and denial of access and of civil rights, which denial is continuing

 3   because of Defendants’ failure to provide disabled accessible facilities. Plaintiff also seeks

 4   recovery of reasonable statutory attorney fees, litigation expenses and costs, under federal and

 5   state law.

 6           5.      JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

 7   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

 8   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

 9   arising from the same facts are also brought under California law, including but not limited to
10   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,

11   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building

12   Code.

13           6.      VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

14   founded on the fact that the real property which is the subject of this action is located in this

15   district and that Plaintiff’s causes of action arose in this district.

16           7.      INTRADISTRICT: This case should be assigned to the San Francisco

17   intradistrict as the real property which is the subject of this action is located in this intradistrict

18   and Plaintiff’s causes of action arose in this intradistrict.

19           8.      PARTIES: Plaintiff JERIN FENTON is a paraplegic and a “person with a
20   disability” or “physically handicapped person” who requires the use of a wheelchair for

21   locomotion. He incurred a spinal cord injury at T5/T6 when he was shot while trying to make a

22   Craigslist purchase about four years ago. Plaintiff is unable to use facilities which are not

23   accessible to mobility disabled persons, including those who require the use of a wheelchair.

24   Plaintiff is entitled by permit from the State of California to park any vehicle which he drives or

25   is transported in, in a designated and properly configured disabled accessible parking space. This

26   is his first and only Americans with Disabilities Act lawsuit.

27           9.      Defendants EMPORIUM SF, LLC, and DIVISADERO HAYES, LLC, are and

28   were the owners, operators, lessors and/or lessees of the subject business, property and buildings
                                                           3
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 1   at all times relevant to each incident described in this Complaint. Plaintiff is informed and

 2   believe that each of the Defendants herein is the agent, employee, or representative of each of the

 3   other Defendant, and each performed all acts and omissions stated herein within the scope of such

 4   agency or employment or representative capacity and is responsible in some manner for the acts

 5   and omissions of the other Defendants in proximately causing the damages complained of herein.

 6           10.     The Emporium is a place of “public accommodation” and “business

 7   establishment” subject to the requirements of multiple categories of 42 USC section 12181(7) of

 8   the Americans with Disabilities Act of 1990; of California Health & Safety Code sections 19953

 9   et seq.; of California Civil Code sections 51 et seq.; and of California Civil Code sections 54 et
10   seq. On information and belief, the Emporium buildings and its facilities were built after July 1,

11   1970, and since then have undergone construction and/or “alterations, structural repairs, or

12   additions,” subjecting each such facility to disabled access requirements per Health & Safety

13   Code sections 19955-19959 et seq., and, as to construction and/or alterations since January 26,

14   1993, to the disabled access requirements of section 12183 of the Americans with Disabilities Act

15   of 1990. Such facilities constructed or altered since 1982 are also subject to “Title 24,” the

16   California State Architect’s Regulations, also known as the California Building Code. Further,

17   irrespective of the alteration history, such premises are subject to the “readily achievable” barrier

18   removal requirements of Title III of the Americans with Disabilities Act of 1990, as defined by

19   the ADA. 42 USC § 12181(9).
20           11.     FACTUAL STATEMENT: The Emporium was converted in 2017 from an old

21   theater with a stage at the front, an orchestra area, and at least three additional levels above it to

22   an arcade and two bars. It has five total levels. The entrance is on the main, second level. This

23   level contains games, such pinball and air hockey, and a bar but no tables or seating. There is a

24   flight of stairs that descends to a lower (first) level that was previously used for the orchestra area

25   in front of the stage before the alteration and renovation. There is also a ramp to this level but

26   there is no signage to show disabled patrons upon entering the venue where it is located.

27           12.     On the main entrance level, there are sets of men’s and women’s restrooms, each

28   flanking a lobby entrance area. There are two sets of stairs ascending on either side of the lobby
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 1   adjacent to the restrooms, each leading to a landing, and then another flight of stairs. There is

 2   also another set of restrooms located up a flight of stairs from that landing used as the closest

 3   restrooms to the upstairs bar. Upon reaching the fourth level, there is a balcony area requiring

 4   other steps to use that include some seating looking out over the entire downstairs gaming area

 5   and stage. There is a third flight of ascending stairs to get to the fourth level where the bar, tables,

 6   and eating area are. On this floor there are seats and tables used for ordering food, sitting and

 7   using the pool tables. There is a bar that is situated up yet another step. Finally, there are two

 8   “VIP” areas in each of the corners also accessible only by steps at the “fifth” level. All of these

 9   paths of travel were inaccessible and unusable by Plaintiff due to his using a wheelchair.
10          13.             In mid-February 2024, Plaintiff received an invite to his friend DJ’s

11   birthday party. The party was set to take place on February 24, 2024, at the Emporium Arcade

12   Bar located at 616 Divisadero Street, San Francisco, California 94117.

13          14.     Plaintiff has had issues with accessibility at facilities in the past, so on or about

14   February 22, 2024, Plaintiff called the Emporium to ask if the facility would be accessible for him

15   as a wheelchair user. He informed the Emporium employee with whom he spoke that his friend

16   was having a birthday party at the facility and that he was in a wheelchair. Plaintiff then asked

17   Defendants’ employee whether the Emporium would be accessible to him as a wheelchair user.

18   Defendants’ employee confirmed that the Emporium was in fact accessible.

19          15.     On February 24, 2024, two days later, Plaintiff drove from his home in the East
20   Bay with his friend Guerrero to San Francisco to attend the birthday party at the Emporium for

21   their mutual friend, DJ. Plaintiff, Guerrero and DJ are all in a card club together and several other

22   card club members were attending the party. Plaintiff was excited to celebrate with his friends.

23          16.       When he arrived in San Francsico, Plaintiff found parking for his vehicle and

24   pushed himself to the Emporium. He arrived at the club around 9:30 pm. There was an excessive

25   slope to enter the Emporium, but Plaintiff managed to navigate it with a little assistance from his

26   friend Guerrero. Plaintiff would have preferred being able to independently push himself but did

27   not want that difficulty disturb the evening. An employee checked his identification at the door,

28   and then Plaintiff went inside to look for his friend’s party.
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 1          17.     After Plaintiff entered the Emporium, he went into a lobby area. Passing through

 2   the lobby he went to the main floor that included several games, like air hockey and pinball

 3   machines, and a bar area. The lowered section of the bar was cluttered with dirty cups and was

 4   not usable. Plaintiff began looking around for his friends.

 5          18.     He saw one of the other party attendees who told him that the party was on the top

 6   floor. Plaintiff went back to speak with the employee at the front door to inquire how to get there

 7   and see if there was an elevator. There was none. The employee simply told him that the

 8   Emporium is accessible and gestured to the interior of the Emporium. Then Defendants’

 9   employee went back to what he was doing without further explanation to Plaintiff. Plaintiff tried
10   in vain to find another of Defendants’ employees to assist him in getting upstairs, but he was

11   unable to find anyone.

12          19.     Plaintiff spoke to his friends and told them that he was just going to go home since

13   the Emporium was not accessible to him. Plaintiff’s friends persuaded him to stay, and they told

14   him that they would carry him upstairs in his wheelchair. Plaintiff ultimately agreed. Four of

15   Plaintiff’s friends lifted him up in his wheelchair and carried him up the three flights of stairs to

16   the party area. It was scary for Plaintiff, and he was worried that he might fall. However, he

17   made it up the stairs to the party with the help of his friends.

18          20.     When Plaintiff got upstairs, he was able to visit and celebrate with his friends.

19   There was seating and decorations upstairs where the party was being held. Plaintiff did not see
20   any such areas on the accessible level of the Emporium. The bar upstairs was only accessible by

21   steps, so he had to ask his friend Guerrero to get him a drink. This was embarrassing because he

22   would have preferred to order on his own. He also felt segregated from the rest of the party and

23   many of the guests were congregating in a VIP area which was up another few stairs.

24          21.     After Plaintiff consumed his beverage, he needed to use the restroom. His friends

25   carried him back down the three flights of stairs to the ground level where there was a supposedly

26   accessible restroom. This again was humiliating to Plaintiff and he was also scared of being

27   dropped. Unfortunately, when Plaintiff arrived at the main floor restroom door, it was locked and

28   an employee informed Plaintiff that no one was allowed to enter the restroom due to “an
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 1   incident.” Defendants’ employee indicated that there was a restroom on the second floor, so

 2   Plaintiff’s friends then carried him up two flights of stairs to that restroom.

 3          22.     By this time, Plaintiff urgently needed to use the restroom. When he entered the

 4   restroom, it appeared the designated accessible stall was being used, so he changed his catheter in

 5   out in the open in the restroom. He faced the wall to get as much privacy as possible, but it was

 6   humiliating to perform such an intimate act in view of other Emporium guests. He disposed of

 7   his waste in the restroom trash can and left as quickly as possible because he was so embarrassed.

 8          23.     When Plaintiff exited the restroom, his friends carried him downstairs, and he

 9   went outside. After a bit of time, his friends came to check on him to see if he wanted to be
10   carried back upstairs. Plaintiff told them that he wanted to head home. Plaintiff and Guerrero left

11   the party.

12          24.     Ultimately, Plaintiff left the celebration feeling embarrassed, sad and frustrated.

13   What should have been a celebration with friends was ruined by the lack of accessible features

14   and paths of travel and inaccessible restrooms.

15          25.     After Plaintiff attended the celebration at the Emporium, he learned that there is an

16   accessible path of travel to a lower level of the Emporium where he could have played arcade

17   games. However, when he was at the Emporium, he did not see any signage indicating the

18   accessible path of travel throughout the facility nor did any of the employees direct him to the

19   accessible path of travel despite the facts that (1) it was evident that Plaintiff was in a wheelchair
20   and could not climb stairs and (2) Plaintiff asked an employee about accessible paths of travel at

21   the Emporium. Plaintiff was denied access to play video games he would have otherwise enjoyed

22   due to the lack of signage.

23          26.     The building permit history of the Emporium shows that the premises were

24   substantially renovated in 2017. However, despite the renovation costing $870,000 no accessible

25   path of travel throughout the facility was provided. To the extent that Defendants could not make

26   the paths of travel throughout the fully accessible because to do so was technically infeasible,

27   they failed to make the path of travel as accessible as possible for disabled persons and to provide

28   signage and training to employees to direct disabled persons to the accessible paths of travel and
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 1   features at the facility.

 2           27.     The above referenced barriers to access are listed without prejudice to Plaintiff

 3   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

 4   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

 5   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

 6   2011). All of these barriers to access render the premises inaccessible to physically disabled

 7   persons who are mobility impaired, such as Plaintiff, and are barriers that Plaintiff may encounter

 8   when he returns to the premises. All facilities must be brought into compliance with all

 9   applicable federal and state code requirements, according to proof.
10                               FIRST CAUSE OF ACTION:
              VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
11                                  42 USC §§ 12101 et seq
12           28.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,

13   the allegations contained in Paragraphs 1 through 27 of this Complaint and incorporates them

14   herein as if separately re-pleaded.

15           29.     In 1990 the United States Congress made findings that laws were needed to more

16   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”

17   that “historically, society has tended to isolate and segregate individuals with disabilities;” that

18   “such forms of discrimination against individuals with disabilities continue to be a serious and

19   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities
20   are to assure equality of opportunity, full participation, independent living, and economic self-

21   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary

22   discrimination and prejudice denies people with disabilities the opportunity to compete on an

23   equal basis and to pursue those opportunities for which our free society is justifiably famous...”

24   42 U.S.C. §12101

25           30.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation

26   Act and in the Americans with Disabilities Act of 1990.

27           31.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),

28   Congress stated as its purpose:
                                                         8
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 1
            It is the purpose of this Act
 2
            (1) to provide a clear and comprehensive national mandate for the elimination of
 3          discrimination against individuals with disabilities;

 4          (2) to provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities;
 5
            (3) to ensure that the Federal Government plays a central role in enforcing the
 6          standards established in this Act on behalf of individuals with disabilities; and

 7          (4) to invoke the sweep of congressional authority, including the power to enforce
            the fourteenth amendment and to regulate commerce, in order to address the major
 8          areas of discrimination faced day-to-day by people with disabilities.

 9   42 USC § 12101(b).
10          32.     As part of the ADA, Congress passed “Title III - Public Accommodations and

11   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

12   facility is one of the “private entities” which are considered “public accommodations” for

13   purposes of this title, which includes but is not limited to “a restaurant, bar, or other establishment

14   serving food or drink.” 42 USC § 12181(7)(B).

15          33.     The ADA states that “No individual shall be discriminated against on the basis of

16   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

17   or accommodations of any place of public accommodation by any person who owns, leases, or

18   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

19   prohibitions against discrimination include, but are not limited to the following:

20   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an

21   individual or class of individuals, on the basis of a disability or disabilities of such individual or

22   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

23   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

24   that is not equal to that afforded to other individuals.”

25   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

26   procedures when such modifications are necessary to afford such goods, services, facilities,

27   privileges, advantages, or accommodations to individuals with disabilities...;”

28   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no
                                                         9
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 1   individual with a disability is excluded, denied service, segregated, or otherwise treated

 2   differently than other individuals because of the absence of auxiliary aids and services...;”

 3   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

 4   are structural in nature, in existing facilities... where such removal is readily achievable;”

 5   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

 6   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

 7   advantages, or accommodations available through alternative methods if such methods are readily

 8   achievable.”

 9   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under
10   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

11           34.     The removal of each of the physical barriers complained of by Plaintiff as

12   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

13   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

14   of the architectural and/or policy barriers complained of herein were already required under

15   California law. Further, on information and belief, alterations, structural repairs or additions

16   since January 26, 1993, have also independently triggered requirements for removal of barriers to

17   access for disabled persons per section 12183 of the ADA. In the event that removal of any

18   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

19   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
20   accommodations through alternative methods that were “readily achievable.”

21           35.     The ability to use a travel throughout a facility is a fundamental necessity of

22   accessing and using a bar/club which serves food and drinks. Therefore, the benefits of creating

23   an accessible path of travel to accessible features does not exceed the costs of readily achievable

24   barrier removal. These costs are fundamental to doing business, like any other essential function

25   of operating a bar, club, or restaurant, such as the costs of ensuring fire safety. It is thus readily

26   achievable to remove these barriers.

27           36.     On information and belief, as of the dates of Plaintiff’s encounters at the premises

28   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have
                                                         10
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 1   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled

 2   persons in other respects, which violate Plaintiff’s right to full and equal access and which

 3   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff

 4   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and

 5   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

 6          37.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

 7   deterring Plaintiff from patronizing the Emporium and discriminated and continue to discriminate

 8   against him on the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal

 9   enjoyment of Defendants’ goods, services, facilities, privileges, advantages and accommodations,
10   in violation of section 12182 of the ADA. 42 U.S.C. § 12182.

11          38.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,

12   Plaintiff is entitled to the remedies and procedures set forth in section 204(a) of the Civil Rights

13   Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of

14   his disabilities in violation of sections 12182 and 12183 of this title. On information and belief,

15   Defendants have continued to violate the law and deny the rights of Plaintiff and other disabled

16   persons to “full and equal” access to this public accommodation since on or before Plaintiff’s

17   encounters. Pursuant to section 12188(a)(2)

18          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
            shall include an order to alter facilities to make such facilities readily accessible to
19          and usable by individuals with disabilities to the extent required by this title. Where
            appropriate, injunctive relief shall also include requiring the provision of an
20          auxiliary aid or service, modification of a policy, or provision of alternative
            methods, to the extent required by this title.
21

22          39.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

23   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

24   implement the Americans with Disabilities Act of 1990. Plaintiff is a qualified disabled person

25   for purposes of section 12188(a) of the ADA who is being subjected to discrimination on the

26   basis of disability in violation of Title III and who has reasonable grounds for believing he will be

27   subjected to such discrimination each time that he may use or attempt to use the property and

28   premises, or attempt to patronize the Emporium, in light of Defendants’ policies and physical
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 1   premises barriers.

 2           WHEREFORE, Plaintiff requests relief as outlined below.

 3                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
 4      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                   INCORPORATED BY CIVIL CODE SECTION 51(f)
 5
             40.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the
 6
     factual allegations contained in Paragraphs 1 through 39 of this Complaint and incorporate them
 7
     herein as if separately re-pleaded.
 8
             41.     At all times relevant to this complaint, California Civil Code section 51 has
 9
     provided that physically disabled persons are free and equal citizens of the state, regardless of
10
     medical condition or disability:
11
             All persons within the jurisdiction of this state are free and equal, and no matter
12           what their sex, race, color, religion, ancestry, national origin, disability, or medical
             condition are entitled to the full and equal accommodations, advantages, facilities,
13           privileges, or services in all business establishments of every kind whatsoever.
14

15   Civil Code § 51(b). [Emphasis added.]
             42.     California Civil Code section 52 provides that the discrimination by Defendants
16
     against Plaintiff on the basis of his disability constitutes a violation of the general anti-
17
     discrimination provisions of sections 51 and 52.
18
             43.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and
19
     distinct violation of California Civil Code section 52, which provides that:
20

21           Whoever denies, aids or incites a denial, or makes any discrimination or distinction
             contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the actual
22           damages, and any amount that may be determined by a jury, or a court sitting without a
             jury, up to a maximum of three times the amount of actual damage but in no case less than
23           four thousand dollars ($4,000), and any attorney’s fees that may be determined by the
             court in addition thereto, suffered by any person denied the rights provided in Section 51,
24           51.5, or 51.6.
             44.     Any violation of the Americans with Disabilities Act of 1990 (as pled in the third
25
     cause of action) constitutes a violation of California Civil Code section 51(f), thus independently
26
     justifying an award of damages and injunctive relief pursuant to California law, including Civil
27
     Code section 52. Per Civil Code section 51(f), “A violation of the right of any individual under
28
                                                         12
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 1   the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a

 2   violation of this section.”

 3           45.     The actions and omissions of Defendants as herein alleged constitute a denial of

 4   access to and use of the described public facilities by physically disabled persons within the

 5   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

 6   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

 7   sections 51 and 52, and are responsible for statutory, and compensatory damages to Plaintiff,

 8   according to proof.

 9           46.     FEES AND COSTS: As a result of Defendant’s acts, omissions and conduct,
10   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

11   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

12   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

13   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

14   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

15   intended to require that Defendants make their facilities and policies accessible to all disabled

16   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

17   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

18   applicable law.

19       WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.
20                                 THIRD CAUSE OF ACTION:
                                 DAMAGES AND INJUNCTIVE RELIEF
21           FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
                                      PUBLIC ACCOMMODATION
22            (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
23           47.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

24   the factual allegations contained in Paragraphs 1 through 46, above, and incorporate them herein

25   by reference as if separately repleaded hereafter.

26           48.     Plaintiff and other similarly situated physically disabled persons, including those

27   who require the use of an assistive device for mobility, are unable to use public facilities on a

28   “full and equal” basis unless each such facility is in compliance with the provisions of California
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 1   Health & Safety Code sections 19953 -19959. Plaintiff is a member of that portion of the public

 2   whose rights are protected by the provisions of Health & Safety Code sections 19953 et seq.

 3   Further, Plaintiff is also protected against policy and architectural barrier discrimination by

 4   California Civil Code sections 54 and 54.1, the “Disabled Persons Act.” “Individuals with

 5   disabilities or medical conditions have the same right as the general public to the full and free use

 6   of the streets, highways, sidewalks, walkways, public buildings, medical facilities, including

 7   hospitals, clinics, and physicians’ offices, public facilities, and other public places.” Civil Code

 8   § 54(a). Furthermore, “Individuals with disabilities shall be entitled to full and equal access, as

 9   other members of the general public, to accommodations, advantages, facilities, . . . places of
10   public accommodation, amusement, or resort, and other places to which the general public is

11   invited.” Civil Code § 54.1(a). Additionally, any violation of the ADA, including but not limited

12   to any violation of 42 USC sections 12182 and 12183, is also incorporated as a violation of the

13   Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

14          49.     Title 24, California Code of Regulations, formerly known as the California

15   Administrative Code and now also known as the California Building Code, was in effect at the

16   time of each alteration which, on information and belief, occurred at such public facility since

17   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

18   each such “alteration, structural repair or addition” was carried out. On information and belief,

19   Defendants and/or their predecessors in interest carried out new construction and/or alterations,
20   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

21   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

22   structural repairs, and/or additions which triggered access requirements at all relevant portions the

23   Emporium, also occurred between July 1, 1970, and December 31, 1981, and required access

24   pursuant to the A.S.A. (American Standards Association) Regulations then in effect, pursuant to

25   the incorporated provisions of California Government Code sections 4450 et seq. Further, on

26   information and belief, additions to the building after the initial construction also occurred after

27   January 1, 1972, triggering access requirements per Health and Safety Code section 19959.

28   Alterations or additions after January 26, 1993, trigger ADA liability and requirements per 42
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 1   USC sections 12182 and 12183 of the ADA.

 2           50.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

 3   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

 4   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

 5   physically disabled from full and equal access to these public facilities. Such acts and omissions

 6   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

 7   continue to treat Plaintiff as inferior and second-class citizen and serve to discriminate against

 8   them on the sole basis that he is a person with disabilities who require the use of a wheelchair or

 9   other assistive device for movement in public places.
10           51.     Plaintiff is deterred from returning to use these facilities, because the lack of

11   access will foreseeably cause them further difficulty, discomfort and embarrassment, and Plaintiff

12   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

13   and use of these public facilities. Therefore, Plaintiff cannot return to patronize the Emporium

14   and its facilities and are deterred from further patronage until these facilities are made properly

15   accessible for disabled persons, including Plaintiff and other mobility disabled persons. Plaintiff

16   specifically intends to return and patronize the Emporium once it is made accessible, including

17   the paths of travel throughout the facility.

18           52.     The acts of Defendants have proximately caused and will continue to cause

19   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to
20   all inaccessible areas of the premises that each of them has personally encountered, and, as to all

21   areas identified during this litigation by Plaintiff’s access consultant, that they or other physically

22   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

23   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

24   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to the Defendants that currently owns, operates,

25   and/or leases (from or to) the subject premises, Plaintiff seeks preliminary and permanent

26   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full

27   and equal access for disabled persons, and for reasonable statutory attorney fees, litigation

28   expenses and costs.
                                                         15
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 1          53.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

 2   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

 3   complained of and to require Defendants to comply forthwith with the applicable statutory

 4   requirements relating to access for disabled persons. Such injunctive relief is provided by

 5   California Health & Safety Code section 19953 and California Civil Code section 55, and other

 6   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

 7   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

 8   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

 9   law, all as hereinafter prayed for.
10          54.     DAMAGES: As a result of the denial of full and equal access to the described

11   facilities and due to the acts and omissions of Defendants in owning, operating, leasing,

12   constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a violation of

13   his civil rights, including but not limited to rights under Civil Code sections 54 and 54.1, and has

14   suffered difficulty, discomfort and embarrassment, and physical, mental and emotional personal

15   injuries, all to his damages per Civil Code section 54.3, including general and statutory damages,

16   as hereinafter stated. Defendants’ actions and omissions to act constitute discrimination against

17   Plaintiff on the basis that he was and is physically disabled and unable, because of the

18   architectural and other barriers created and/or maintained by the Defendants in violation of the

19   subject laws, to use the public facilities on a full and equal basis as other persons. These
20   violations have deterred Plaintiff from returning to attempt to patronize the Emporium and will

21   continue to cause each of them damages each day these barriers to access continue to be present.

22   Plaintiff intends to return to the Emporium once the premises has been made accessible for his

23   full and equal enjoyment.

24          55.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,

25   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

26   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

27   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

28   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the
                                                        16
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 1   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

 2   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make their

 3   facilities accessible to all disabled members of the public, justifying “public interest” attorney

 4   fees, litigation expenses and costs pursuant to the provisions of California Code of Civil

 5   Procedure section 1021.5 and other applicable law.

 6          WHEREFORE, Plaintiff requests relief as outlined below.

 7                                                PRAYER

 8          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this

 9   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the
10   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

11   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and

12   opposing legal positions as to Defendants’ violations of the laws of the United States and the

13   State of California. The need for relief is critical because the rights at issue are paramount under

14   the laws of the United States and the State of California.

15          WHEREFORE, Plaintiff JERIN FENTON prays for judgment and the following specific

16   relief against Defendants:

17          1.      Issue a preliminary and permanent injunction directing Defendants as current

18   owners, operators, lessors, and/or lessees of the subject property and premises to modify the

19   above described property, premises, policies and related facilities to provide full and equal access
20   to all persons, including persons with physical disabilities; and issue a preliminary and permanent

21   injunction pursuant to ADA section 12188(a) and state law directing Defendants to provide

22   facilities usable by Plaintiff and similarly situated persons with disabilities, and which provide

23   full and equal access, as required by law, and to maintain such accessible facilities once they are

24   provided; to cease any discriminatory policies, and to train Defendants’ employees and agents in

25   how to recognize disabled persons and accommodate their rights and needs;

26          2.      Retain jurisdiction over the Defendants until such time as the Court is satisfied that

27   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

28   inaccessible public facilities and policies as complained of herein no longer occur, and cannot
                                                        17
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 1   recur;

 2            3.     Award to Plaintiff all appropriate damages, including but not limited to statutory

 3   damages, general damages, and treble damages in amounts within the jurisdiction of the Court, all

 4   according to proof;

 5            4.     Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and

 6   costs of this proceeding as provided by law;

 7            5.     Award prejudgment interest pursuant to Civil Code section 3291; and

 8            6.     Grant such other and further relief as this Court may deem just and proper.

 9   Date: July 30, 2024                                     REIN & CLEFTON
10

11                                                              /s/ Aaron Clefton
                                                             By AARON CLEFTON, Esq.
12                                                           Attorney for Plaintiff
                                                             JERIN FENTON
13

14                                             JURY DEMAND
15            Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
16   Date: July 30, 2024                                     REIN & CLEFTON
17

18                                                              /s/ Aaron Clefton
                                                             By AARON CLEFTON, Esq.
19                                                           Attorney for Plaintiff
                                                             JERIN FENTON
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